 

 

-cr-80879-AC-SDP ECF No. 12 filed 03/30/06 PagelID.66 Page1of5 v

dgmant ina Griminal Cage

 

Judgment-Page 1 of 5

United States District Court
Eastern District of Michigan

United States of America

V. Case Number: 03CR80617-1; 05CR80879-01
TAREK MAKKI USM Number: 31659-039
AMENDED
JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 19 | iL (=
,
Date of Original Judgment: March 14, 2006 James Thomas
(or date of Last Ammended Judgment) Tietendant's Attomey L MAR 3 0 7006
_ CLERKS OFFICE
Reason for Amendment: U.S. DIS TRicr COURT
Correction of Sentence for Clerical Mistakes. EASTEAD MAIO! GAN
me Shor Ta A

Restitution Payee is omitted
+ The defendant pleaded guilty to count(s): 18s, 28s, 6ss, 88s, 108s and Count 1 of 05-80879.

Count(s): 1, 1s, 3ss, 4, 48, 4ss 6s and 8s and Counts 2-3 of 05-80879 are dismissed on the motion of the United States alter a
plea of not guilty.

Tithe & Section Nature of Offense Offense Ended Count

See page 2 for details.

The defendant is sentenced as provided in pages 2 through 5 of this judgment. This sentence is imposed pursuant of the
Sentencing Reform Act of 1984

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, ot mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. Jf ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

March 30, 2006

Date of Imposition of Judgment

 

Avern Cohn
United States District Judge

MAR © 0.2006

Nate Signed

 

 
 
 
 
 

5-cr-80879-AC-SDP ECF No. 12 filed 03/30/06 PagelD.67 Page 2of5

dgment ina Criminal Gase

 

Judgment-Page 2 of 3

  
   

ENDANT: TAREK MAKKI
CASE NUMBER: 03CR80617-1; 05CR80879-01

ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense Offense Ended Count
18:US8C 371 Conspiracy to Traffic in and Smuggle Counterfeit 09/30/2004 lss
Goods
[8:USC 1956 (h) Conspiracty to Launder Monetary Instruments 09/30/2004 288
18:USC 1001 False Statement 06/15/2004 6ss, 858, 105s

18;U8C 1623 False Declaration Before a Court 05/29/2001 1(05-80879)

 

 
 

Judgment-Page 3 of 5

    

ENDANT: TAREK MAKKI
CASE NUMBER: 03CR80617-1; 05CR80879-01

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of: 24
months on each count, the time is to be served concurrently,

The defendant is remanded to the custody of the United States Marshal,

RETURN

L have executed this judgment as follows:

Defendant delivered on to a
_ with a certified copy of this judgment,

 

 

United States Marshal

 

Deputy United States Marshal

 

 

 
 

 
  

FU5-Cr-80879-AC-SDP ECF No. 12 filed 03/30/06 PagelD.69 Page 4of5

dgment ina Criminal Gase
mupcrvised Release

    
 
 
  

Judgment-Page 4 of 5

“FENDANT: TAREK MAKKI
CASE NUMBER: 03CR80617-1;, 05CR80879-01

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: 36 months on each count to be
served concurrently,

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custory of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

If the defendant is convicted of a felony offense, DNA collection is required by Public Law 108-405.

The defendant shall not unlawfully possess a controlled substance. The defendant shal! refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafler, as determined by the court. Revocation of supervised release is mandatory for possession of a
controlled substance.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with

the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional

conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report ot the probation officer and shall submit a truthful and complete written report within the first
five days of each month;

3) the defendant shal! answer truthfully ali inquiries by the probation officer and follow the instructions of the probation
officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, of administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in crinvinal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so by the probation officer,

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer,

11) the defendant shall notily the probation officer within seventy-two hours of being arrested or questioned by a law
cnforcement officer;

12) the defendant shall not enter into any agrcement to act as an informer or a special agent of a law enforcement agency
without the permission of the court,

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's crminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement; and

14) the defendant shall not possess a [irearm, ammunition, destructive device, or any other dangerous weapon. Revocation of
supervised release is mandatory for possession of a firearm.

 

 
 

 
   
  
 
  
 

PU5-Cr-80879-AC-SDP ECF No. 12 filed 03/30/06 PagelD.70 Page5of5

Poudgmant in 4 Criminal Case
‘Criminal Monetary Penaltics

Judgment-Page 5 of 3

FLFENDANT: TAREK MAKKI
CASE NUMBER: 03CR80617-1; 05CR80879-01

CRIMINAL MONETARY PENALTIES

Assessment Fine Restitution
TOTALS: $ 600.00 $ 0.00 $ 879056.00

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. [lowever, pursuant to 18 U.S.C. § 3664(i), all nonfederal

victims must be paid before the United States is paid.

 

Name of Payee Total Loss* Restitution Priority or
Ordered

North Atlantic Operating Company 0.00 879056.00

TOTALS: $0.00 $ 879056.00

Restitution amount ordered pursuant to plea agreement $879056.00

 

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996,

 

 

 
